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JUN 0 7 2013
PRisONER Clvll. RlGHTs Acr coMPl_AlNT FORM Clerk. U:S. Dist. Coun
42 u.s.c §1983 W~ D'Sf- Of N.C.

UNITED SI'ATES Dl§|'RlCl' COURT
FOR THE WESTERN DISFRICl' OF NORTH CAROL|NA

\/§Qrom€,'_\'l\emce 5

(Enter above full name of Plaintiff/ only
One plaintiff permitted per complaint.)

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(Enter above full name of defendant or defendants.)

l. PREVIOUS LAWSUlTS

A. Have you begun other lawsuits in state or federal court dealing with the same facts involved in
this action or otherwise relating to your imprisonment? ¥es ( ) ue¢('_)"

B. If your answer to A is yes, dscribe each lawsuit in the space below. (lf there is more than one
lawsuit describe the additional lawsuits on an additional sheet of paper, using the same outline.
l. Parties to previous lawsuits:
Plaintii"fs:

 

 

Defendants:

 

 

2. Court (iic federal court, name the district; if state court, name the

county):

 

3. Docket number:

 

4. Name of presiding_iudge'.

 

5. Disposition (for examp|e, was the dismissed? Appealecl? is it still pending?)

 

6. Approximate date of case filing:

 

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ll. PREV|OUS IN FORl\/lA PAUPERIS LAWSU[TS

A. While incarcerated or detained in any facility, have your filed a lawsuit ln any federal court' in
which you were allowed to proceed in forma pauperis (without prepayment of fees)?
Yes( l NO l\»)"
1. Name the court and docket number for each:

 

 

B. Were any of these cass dismissed under 28 U.S.C. §1915(d) on the'grounds that they were
frivolous, malicious, or failed to state a claim upon which relief may be granted?
Yes ( ) No ( - v
1.` if yes, how many?

 

2. Name the court and docket number for each action:

 

 

Ill. EXHAUST|ON OF lNMATE ADMlNlSTRATlVE REMEDIES
A. Did you present the facts of each claim relating to your complaint to the inmate Grievance
Commis 'on or any other available administrative remedy procedure?
Yes ( ) No ( )

B. lf your answer is Yes:

 

l. When did you file your grievance?
ll - a s - a @ l rig
2. What was your grievance?

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3. Did you appeal any adverse decision to the highest level possible in the administrative
procedure? Yes( ) No (

if yes, when was the decision and what was the result?

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C. lf your answer to A is no, identify the claim(s) and explain why not:

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IV. PARTlES

A. Plaintiffs Name:
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Address/Place ofConfinement: LQGG -Qm :~¥\l\ `(;JO"Z h D SPFUCC p:n€. fVC<Q?'??? l

 

B. Defendant(s) 0

Name of Defendant 1'. D=q`¢'@€{` '»<\JQHO\CV`SD'Y'\

Position: CDPP€C,~\-f 000 l mpp.'C@r"

Place of Employment: QVCN m i-'l’-Ob€s\\

currenrAddress: Looo_ th~l\{ i\bqr.l< P b < p n ucc ‘LJ\ ne f\/c Qg»rmq

Additiona| Defendant(s) provide name, position, place of employment, and current address for each.

DefendantZ: `m\"‘ b\)(llHr`QD'D
"°aclmc; GCHDCSS

 

 

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earm€/ Cidli»"'oss

Defendant 4: C,»O@'\"\t(j_n 96 d\]`\“\\`
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(Continue on separate sheet if necessary.)

V. STATEN|ENT OF CLAlN|
State here as briefly as possible the FAC[`S in your case. Do this by describing how each defendant named
in Section lV B. above is personally involved in depriving you of your rights. All relevant times, dates, and
places should be included. YOU MAY, BUT NEED_NOT, GlVE LEGAL ARGUN|ENTS_ OR ClTE ANY CASES OR
S‘l'ATUTF_S. You may only combine claims involving events that relate to all defendants Number
and set forth each separate claim in a separate paragraph. Unrelated claims involving separate events
must be set out in a separate complaint (Attach additional sheets if necessary.)

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Vl. REQUESTED RELlEF

STATE BR|EFLY EXACTLY WHAT YOU WANT THE COURT TO DO FOR YOU. YOU NEED NOT NlAKE AN‘ll
LEGAL ARGUMENTS, OR ClTE ANY CASES OR STATUTES.

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Date: _§:§QM >`Signa`ture: W`O_/
PrisonlD#; \qu.\»§§@

   

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lNS`l`RUCl'|ONS FOR THE FlLlNG OF A PRISONER ClVlL RlGHTS CONIPLAINT PURSUANT TO 42 U. S. C&]=RB?US

To commence an action in this Court, you must complete the attached for'm, Prisoner Civi| Rights Complainp/Wh DZ.CC Court

complaint form is complete, you can submit it to the Clerk‘s Office for filing. The complaint form must be leg
handwritten or typed.

The original complaint form must be submitted to the Clerk for filing. |f you want a copy of the form file-stamped and
returned, submit an additional copy along with a postage-paid, self-addressed envelope

Your complaint should be brought before this Court only if one or more of the named defendants committed the act(s) or
is located within this district The counties comprising the Westem District of North Caroiina are as set out below by
Division:

Asheville Division: Avery, -Buncombe, Burke, Cleveland, Haywood, |-lenderson, Madison, N|cDowell,
Mitche|l, Po|k, Rutherford, Transylvania & Yancey counties.

Bryson City Division: Cherokee, Clay, Gmham, Jacl<son, Macon and,Swam counties

Charlotte Division: Anson, Gaston, Mecklenburg & Union Coun‘ties.

Statesville Division: Alexander, Alleghany, Ashe, Caldwell, Catawba, lredell, Lincoln, Watauga and \Mlkes

counties. -

A separate complaint must be Hled for each claim unless the claims are all related to the same incident or issue.

You must state the facts which support your Cla`im. These facts should be presented on the complaint form and continued
to additional pages only when necessary. The complaint does not need to contain legal argument or citations; it may
contain only facl$.

Fiiing Fee.
a. Filing fee of $400.00 is due at the filing of the complaint v
b. lf you are unable to pay the filing fee, the complaint must be accompanied by an ”Application To Proceed \n
District Court W`rthout Prepaying Fees Or Costs" (form attached ).

i. The court will review your application, if insufficient funds exist you may be permitted to conditionally
proceed in forma pauperis, allowing your action to commence without the prepayment of fees.
However, even if you are permitted to conditionally proceed in forma pauperis, you must comply with
any further order of the court.

ii. Pursuant to the Prisoner Litigation Reform Act (28 U.S.C. §1915), the court mu§ collect an initial partial
filing fee of 20 percent of the greater of (a) the average monthly-deposits in your account or (b) the
average monthly balance in your account for the six month period immediately preceding the filing of
your complaint, After this initial partial filing fee is paid, you will be required to make monthly
payments of 20 percent of the preceding month's income credited to your account. The court will
order the agency having custody over you to set aside such amounts and fonNard paymen's from your
account to the Clerk of Court each time the amount set aside in your account exceeds $l0.00 until the
filing fee is paid. The courts will order the agency having custody over you to send to the Clerk of.Court

a copy of your trust account statement for the last six months from your present and prior units of
incarceration

The complaint, filing fee or the application to proceed without prepayment of fee along with any other documents
pertaining to the civil action should be sent to the Clerk of Cour‘t for the Westem District of North Carolina at one of the
following addresses

Asheville Division Charlotte Division Statesville Division
100 Otis St., Rm. 309 401 W. Trade St., Rm. 210 200 W. Broad St.
Asheville NC 28801 ,. Charlotte NC 28202 Statesville NC 28677
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Notiflcation of Change of Address: if your address changes, you must immediately notify this court in writing, failure to do
so could result 1n dismissal of your action without notice to you

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